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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                   )
     UNITED STATES OF AMERICA,                     )
                                                   )     Criminal No. 21-cr-00537-JMC
                       v.                          )
                                                   )
              RYAN SAMSEL,                         )
                                                   )
                  Defendant.                       )
                                                   )

                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendant Ryan Samsel, by and through undersigned counsel, and further to the colloquy

held at the Court’s September 22, 2023, hearing on Mr. Samsel’s August 27, 2023, Renewed

Motion for Temporary Release (ECF No. 264), hereby submits the enclosed medical records,

attached hereto as Exhibit A (filed under seal).



 Dated: September 22, 2023                  Respectfully submitted,

                                                   /s/ Stanley E. Woodward, Jr.
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                                            Counsel for Defendant Ryan Samsel




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                                   CERTIFICATE OF SERVICE

       On September 22, 2023, the undersigned hereby certifies that a true and correct copy of

the foregoing was electronically filed via the CM/ECF system, which will automatically serve a

copy upon all parties of record.




                                                 /s/ Stanley E. Woodward, Jr.
                                          Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
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